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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                            )         CASE NO: 8:00CR130
UNITED STATES OF AMERICA,                   )
               Plaintiff,                   )               ORDER
                                            )         TO WITHDRAW EXHIBITS
              vs.                           )         OR TO SHOW CAUSE WHY
                                            )         EXHIBITS SHOULD NOT BE
                                            )              DESTROYED
LISA BASS,                                  )
                     Defendant.             )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant shall either

1) withdraw the following exhibits previously submitted in this matter within 15 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:

              Exhibit number(s): 1,4

              Hearing type(s): Motion

              Date of hearing(s): 7/24/00

       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       June 20, 2007.



                                                      s/ Lyle E. Strom
                                                      United States District Judge
